                                                  UNITED STATES BANKRUPTCY COURT
                                                  NORTHERN DISTRICT OF CALIFORNIA

In re                                                                            Case No.
           Beamreach Solar, Inc.




                                                   Debtor(s).            /

                                                              CREDITOR MATRIX COVER SHEET


        I declare that the attached Creditor Mailing Matrix, consisting of 171 sheets, contains the correct,
complete and current names and addresses of all priority, secured and unsecured creditors listed in debtor’s
filing and that this matrix conforms with the Clerk’s promulgated requirements.

DATED:               Fthraj                      q1
                                                        7-,617


                                                                             Signature




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{
k
b
}
x
i
t
a
M
s
e
r
d
A
o
C
1




     2000 New Resolutions
     c o Gayla W. Carney
     P.O. Box L 3
     Aspen, CO 81612



     2000 New Resolutions LLC
     257 N. Battin Street
     Wichita, KS 67208



     209 Technologies
     P.O. Box 2040
     Boulder Creek, CA 95006



     2XL
     212 Railroad Ave.
     Milpitas, CA 95035



     3700 Bigelow Boulevard LLC
     c o Thomas Kopff, Managing Member
     66 Sherwood Road
     Ridgewood, NJ 07480-1320



     3D-Micromac AG
     Technologie-Campus 8
     Chemnitz, Germany



     3M Purification, Inc.
     PO Box 844897
     Dallas, TX 75284



     40 Hrs Staffing
     1669 Flanigan Dr.
     San Jose, CA 95121




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 49 Vector Investments LLC
 c o Nishant B. Jalandhara
 1940 Champion Hills Drive
 Reno, NV 89523



 Aaron Thurlow
 1264 Mills St.
 Menlo Park, CA 94025



 Able Glass Company
 850 Aldo Avenue
 Santa Clara, CA 95054



 ABM Electrical Power Services
 6940 Koll Center Parkway Suite 100
 Pleasanton, CA 94566



 Abramson, William
 4820 Bridgewater Rd.
 Birmingham, AL 35243



 Abrisa Technologies
 200 S Hallock Drive
 Santa Paula, CA 93060



 Abstraction Engineering
 19072 Taylor Ave.
 Morgan Hill, CA 95037



 Ace Fire Equipment & Service Co., Inc.
 PO Box 1142
 Palo Alto, CA 94302




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 ACE Jerneh Insurance Berhard
 38 Jalan Sultan Ismail 50250
 Juala Lumpur, Malaysia aysia



 ACME Roofing Services Inc
 572 Rosewood Ct.
 Los Banos, CA 93635



 ACP Composites
 78 Lindbergh Avenue
 Livermore, CA 94551



 ACS|BNY Mellon HSA Solution
 PO Box 535416
 Pittsburgh, PA 15253



 Adam Froimovitch
 379 S. Bernardo
 Sunnyvale, CA 94086



 Adams, William
 3600 Gramercy Street
 Houston, TX 77025



 Adobe Sign
 345 Park Avenue
 San Jose, CA 95110



 ADP
 820 N. McCarthy Boulevard,
 Milpitas, CA 95035




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 Advanced Chemical Transport
 1210 Elko Dr.
 Sunnyvale, CA 94089



 Advanced Laser and Waterjet Cutting
 820 Comstock Street
 Santa Clara, CA 95054



 Advantage Converting
 959 Terminal Way
 San Carlos, CA 94070



 AED Superstore
 1800 US Hwy 51
 N Woodruff, WI 54568



 AED Superstore - Sales & Use
 1800 US-51,
 Woodruff, WI 54568



 AERONET
 PO BOX 17239
 Irvine, CA 92623



 AGC Electronics America
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 Hillsboro, OR 97124



 Aggreko
 P.O Box 972562
 Dallas, TX 75397




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 Air Liquide - Balazs Nanoanalysis
 O Box 301046
 Dallas, TX 75303



 Air Liquide America Specialty Gases
 Box 301046
 Dallas, TX 75303



 Air Products & Chemicals, Inc.
 BOX 935430
 Atlanta, GA 31193-5430



 AirClean Systems
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 Creedmoor, NC 27522



 Airgas NCN
 PO Box 7423
 Pasadena, CA 91109



 AIS Automation
 Otto-Mohr-Stra e 6,
 Dresden, Germany 01237-0000



 AJU KIM CHANG &LEE
 12-12TH FLOOR GANGNAM MIRAE TOWER 174 SA
 Seoul, South Korea



 AJWC LTD
 13910 Bluff Wind
 San Antonio, TX 78216




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 AJWC LTD
 c/o Dr. William Wu
 13910 Bluff Wind
 San Antonio, TX 78216-7915



 Akrion Systems
 6330 Hedgwood Dr. Suite 150
 Allentown, PA 18106



 Akzo Nobel Functional Chemical S&U
 P.O Box 742582
 Atlanta, GA 30374



 Alhadeff, Joseph
 3101 New Mexico Avenue, NW, 539
 Washington, DC 20016



 all4-GP(North America) Inc.
 345 Mira Loma Ave.
 Glendale, CA 91204



 all4-PCB (North America) Inc.
 345 Mira Loma Ave.
 Glendale, CA 91204



 Alliance Occupational Medicine
 2737 Walsh Ave.
 Santa Clara, CA 95051



 Allied Construction Services
 7602 National Drive
 Livermoore, CA 94550




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 Allied High Tech Products, Inc.
 2376 East Pacifica Place P.O. Box 4608
 Rancho Dominquez, CA 90220



 Alltizer, Andrew
 53 Diablo Creek Pl.
 Danville, CA 94506



 Almaden
 639 Qinglong East Road Tianning
 Changzhou, PRC



 Alrdidge, James
 49 Church Lane
 Scarsdale, NY 10583



 Alton Donald Sands
 15 Maple Avenue
 Jamestown, RI 02835



 American Beauty Soldering Tools
 1177 West Maple Road
 Clawson, MI 48017



 American Estate   Trust, Fbo: David J. D
 606 Pleasant Avenue
 Glen Ellyn, IL 60137



 American Express
 200 Vesey Street,
 New York, NY 10285




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 American Pacific Cargo Inc.
 880 Mitten Rd. Suite 110
 Burlingame, CA 94010



 American Precision Dicing Inc.
 642 Giguere Ct.
 San Jose, CA 95133



 Amerigas
 1155 N. 15th Street
 San Jose, CA 95112



 Amphenol Corporation
 Fu'an 2nd Ind Park, Dayang Rd Fuyong,
 Shenzhen, China 00051-8103



 AMPRO Plastic Products, Inc.
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 Newman, CA 95360



 Anbalagan, Pranav
 Plot#22, Sarojini St
 Rajarajeswari Nagar
 Madhanandapuram, Chennai



 Andrew Jackson Aura Jackson, JTWROS
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 Andrews, Ken
 1317 Roanoake Dr.
 Graham, TX 76450-3016




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Andy L. Lin
69 Silva Place
Santa Clara, CA 95054



Ansbacher, Jonathan
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Massapequa Park, NY 11762



Applied Construction Technology
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Sunnyvale, CA 94085



Applied Laser Solutions, Inc
3360 Edward Avenue
Santa Clara, CA 95054



Applied Materials Inc. - USA
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Pasadena, CA 91185



Applied Materials, Inc.
Italia Srl. Via Postumia, Ovest 244
Olmi Di S. Biagio di C., Italy 31048-000



Apricum GmbH
Spittelmarkt 12 10117
Berlin, Germany



Aquiline Construction, Inc.
71 Ocean Ave.
Monterey, CA 93940




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                                        172
AR Environmental Consulting
P.O. Box 1403
Los Altos, CA 94023



Arc Best
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San Jose, CA 95131



Areias Systems, Inc.
5900 Butler Lande, Ste280
Scotts Valley, CA 95066



Arena Solutions, Inc.
989 E. Hillsdale Blvd. Suite 250
Foster City, CA 94404



Arlon LLC - Rogers Corporation
PO Box 202369
Dallas, TX 75320



Arnecke Sibeth
Am Brauhaus 1
Dresden, Germany 01099-0000



Arnold Thompson
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San Francisco, CA 94127



Asana Holdings, LLC
1482 E. Valley Road, 617
Montecity, CA 93108




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Asana Holdings, LLC
Attn John H. Perry
III 1482 E. Valley Road, 617
Montecito, CA 93108



Asana Holdings, LLC
Attn John H. Perry
II 1482 E. Valley Road, 617
Montecity, CA 93108



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Asys Group
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AT&T Mobility
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Carol Stream, IL 60197



Atlas Copco Compressors LLC
48434 Milmont Drive
Fremont, CA 94538




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                                        172
Atlas Weathering Services Group
45601 North 47th Ave.
Phoenix, AZ 85087



Automatic Vending
30970 Huntwood Suite 306
Hayward, CA 94544



Automation Direct
3505 Hutchinson Rd.
Cumming, GA 30040



Avraham Tahari Susan Tahari, JWROS
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Fort Lee, NJ 07024-6441



Awadalla, Hany
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New York, NY 10011



Baiju Gohil
1 Cumberlamd CT
Huntington, NY 11743



Bandgap Engineering, Inc.c/o Kallander G
282 Central Street, Unit 9
Hudson, MA 01749



Bao Ton
1812 Kyra Circle
San Jose, CA 95122




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                                        172
Barlow, John
103 Virginia Place
Longview, WA 98632-5451



Barrday Composite Solution
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Hapeville, GA 31193



Barrett, Raymond Todd
4930 Wintergreen Lane
Carmel, IN 46033



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Barry Donner
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Dana Point, CA 92629



BART Manufacturing
585 Emory Street
San Jose, CA 95110



BASF Corporation
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Florham Park, NJ 07932



Bay Advanced Technologies, LLC.
PO Box 79422
City of Industry, CA 91716




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                                        172
Bay Alarm Company
P.O Box 7137
San Francisco, CA 94120



Bay Area Air Quality Mgmt Dist.
939 Ellis Street
San Francisco, CA 94109



Bay Area Atlas Machine Shop
2422 Howard Avenue
San Carlos, CA 94070



Bay Area Backflow, Inc.
290 Nagareda Drive, Unit 5
Gilroy, CA 95020



Bay Area Builders, Inc.
3360 De La Cruz Blvd.
Santa Clara, CA 95054



Bay Area Circuits, Inc.
44358 Old Warm Springs Boulevard
Fremont, CA 94538



Bay Area Electric
322 Lindbergh Ave
Livermore, CA 94550



Bay City Scale, Inc
25352A Cypress Ave.
Hayward, CA 94545




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Bay Materials, LLC
48450 Lakeview Blvd
Fremont, CA 94538



Bay Rubber Company
404 Pendleton Way
Oakland, CA 94621



Bay Seal Company, Inc.
1550 West Winton Ave
Hayward, CA 94545



Beaver & Associates
1303 S. Gibson Ct.
Superior, CO 80027



Beck's Shoes, Inc.
Attn: Accounts Receivable 354 E. McGlinc
Campbell, CA 95008



Bekman, Paul
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Owing Mills, MD 21117-6511



Belfiglio, Jeff
12629 NE 2nd Street
Bellevue, WA 98005-3206



Belfiglio, Lee Evan
12629 NE 2nd Street
Bellevue, WA 98005-3206




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                                        172
Bell Plastics
2020 National Avenue
Hayward, CA 94545



Ben Rattle
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Austin, TX 78751



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Valley Glen, CA 91401-4508



BesTeck Manufacturing
2150 Del Franco St.
San Jose, CA 95131



Bi Optic Incorporated
3004 Lawrence Expressway
Santa Clara, CA 95051



Big Joe California North, Inc.
25932 Eden Landing Rd
Hayward, CA 94545



Bisco Industries
1927 Hartog Drive
San Jose, CA 95131




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                                        172
Bittele Electronics Inc.
250 Consumers Road, Suite 400
N. York, Ontario, Canada M2J4V6



Black & Veatch Management Consulting, LL
11401 Lamar Ave Overland
Park, KS 66211



Blair-Gordon Associates
5100 B-1 Clayton Road, Suite 177
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Board of Equalization
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Sacramento, CA 94279



Borkowski, Kevin
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Ora Valley, AZ 85737




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                                        172
Braen, Dirk
451 Weymouth Drive
Wycoff, NJ 07481



Braen, Joshua
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Wycoff, NJ 07481



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11 Meadowcrest Rd.
Radnor, PA 19087



Bressler Group
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Brian L. Heckler
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Brookwood RB Investors, LLC
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                                        172
Broquard, Wesley
910 S. Michigan Ave, Apt. 1801
Chicago, IL 60605



Brown, Samuel
1851 Alexander Bell Dr., Suite 410
Reston, VA 20191-4392



Bruder, Ronald
Premium Point Road
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BTG Labs
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Buchanan Automation
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Buhler Alzenau GmbH
Business Area Leybold Optics Siemensstra
Alzenau, Germany 63755-0000



Buhler Inc.
28064 Network Place
Chicago, IL 60673




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                                        172
Burch, Wilmot Clyde
103 Jamison Station Lane
Franklin, TN 37064



Burt Alper
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Burton, Dr. Larry
2714 27th Street, NW
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Bush, Bruce
300 Garden Grove Way
Coppell, TX 75019



Bush, Richard
3525 Walworth Road
Marion, NY 14505-9337



Business Computer Associates LLC
39120 Argonaut Way, #354
Fremont, CA 94538



Business Telephone eXchange, Inc.
929 Berryessa Rd. #10
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C C Steven and Associates, Inc.
1363 Donlon Street, Suite 12
Ventura, CA 93003




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                                        172
C. Vance Hendrickson  Pamela M. Hendric
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MT. Pleasant, TN 38474-4021



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Redwood City, CA 94063



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Sacramento, CA 95814



California Department of Corporations
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San Francisco, CA 94104



California State Disbursement Unit
PO Box 989067
West Sacramento, CA 95798



California Vacuum System
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Morgan Hill, CA 95037



Callaway Private Equity Partners, Inc.
1252 Montgomery St.
San Francisco, CA 94133



CalPack Crating
4700-B Horner Street #B
Union City, CA 94587




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                                        172
CALSEIA
1107 9th. St. Ste. 820
Sacramento, CA 95814



Canaras, LLC
c o S. Weill Independent Family Office
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Albany, NY 12203



Carney, Daniel
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Carrier
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Carter, Dana Pierce
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Portsmouth, RI 02871-3934



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Catherine Ng
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                                        172
Cavalieri, Nick
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Westerville, OH 43082-8878



CBRE, Inc.
P.O BOX 740935 Location Code 2142
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CDA Systems
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Century Roof & Solar
23135 Saklan Rd.
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Cerf, Charles
2127 California Street NW, #804
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Ceridian Benefit Services
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CH2M Hill Engineers, Inc.
2020 SW Fourth Ave. 3rd.
Portland, OR 97201




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                                        172
Chang Tsi & Partners
6-8th Floor, Tower A, Hundred Island Par
Beijing, China 00010-0044



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Charles Hill
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Charles K. Eby Trust
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Wichita, KS 67026



Charles K. Eby Trust
1813 N. Cranbrook Circle
Wichita, KS 67206-8940



Charmin Trust, Robert P. Komin Jr.           Cha
119 Selby Lane
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Chemical Safety Technology, Inc
2461 Automnvale Dr.
San Jose, CA 95131




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                                        172
ChemTrace (Metron/Applied Materials)
1900 AM Drive, Ste 200
Quakertown, PA 18951



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Chip Test Solutions
742 San Aleso
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Basel 04052
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Christa Frasier
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Christenson, Charles
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Bridgewater, NJ 08807



Christopher H. Paskach Living Trust Date
1643 2nd Street
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Chubb
and Son A Division of Federal Insurance
Palatine, IL 60055




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                                        172
Cimetrix
6979 High Tech Drive
Salt Lake City, UT 84047



Cintas
Corporation PO BOX 631025
Cinicinnati, OH 45263



City of Milpitas
455 E. Calaveras Blvd.
Milpitas, CA 95035



City of Milpitas (utility)
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San Francisco, CA 94120



City of San Jose
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CivicSolar
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San Francisco, CA 94104



CJiChi
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Claude A. Wyle
275 Battery St.., Ste 1,300
San Francisco, CA 94111




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Clean Sciences Technology
40939 Encyclopedia Circle
Fremont, CA 94538



Clean Tech (Centrotherm), Inc. S&U
5830 Copper Leaf Lane.
Naples, FL 34116



Clean-Lines Design
3350 Scott Blvd. Suite 58-2
Santa Clara, CA 95054



Cleanpart SET, Inc.
631 International Parkway Suite 200
Richardson, TX 75081



Cloud Ready
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Fremont, CA 94539



CMC Master Fund, L.P.
c o CM Capital Advisors, LLC
525 University Avenue, Suite 200
Palo Alto, CA 94301



CNA Insurance
PO Box 790094
St. Louis, MO 63179



Code Environmental Services, Inc.
c o Tomassetti Abramo
400 Middlesex Avenue
Carteret, NJ 07008




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                                        172
Coherent Inc
Bank of America Lockbox Services File 57
Los Angeles, CA 90074



Cole Parmer
13927 Collections Drive
Chicago, IL 60693



Colorado School of Mines
1500 Illinois St.
Golden, CO 80401



Columbus Customhouse Broker
6800 Lauffer Rd. Bldg C
Columbus, OH 43231



Com-Ten Industries
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Pinellas Park, FL 33781



Comerica Credit Card
1601 Elm St #100,
Dallas, TX 75201



Comfort International Inc.
2570 North First Start Floor 2
San Jose, CA 95131



Comm USA
2229 Enterprise St.
Escondido, CA 92029




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                                        172
Complete Probe Solutions, Inc.
9175 Crest Hill Ct.
Gilroy, CA 95020



Computer Packages, Inc.
414 Hungerford Drive, Third Floor
Rockville, MD 20850



Computer Xtras Xpress
2231 Paragn Drive
San Jose, CA 95131



Cooper White & Cooper
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San Francisco, CA 94111



County of Santa Clara
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County Of Santa Clara AAB
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Couples, Fred
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CPP, Inc.
2400 Midpoint Dr. Unit 190
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                                        172
CREATIVE ENGINEERING SOLUTIONS PTE LTD
65 CHULIA STREET
OCBC Centre, Singapore



Creative Materials, Inc.
12 Willow Road
Ayer, MA 01432



Criterion Labs, Inc
P.O Box 700190
San Jose, CA 95170



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C15-5 Level 15 Tower C, Megan Ave. II 12
Kuala Lumpur, Malaysia 50450-0000



Cubatic Technology Corporation
48430 Milmont Drive
Fremont, CA 94538



Cyrus Tamboli UTMA
76 Martinique Ave.
Tamp, FL 33606



DAG Ventures GP Fund III, LLC
c o DAG Ventures
251 Lytton Avenue, Suite 200
Attn Greg Williams
Palo Alto, CA 94301



DAG Ventures III, L.P.
c o DAG Ventures
251 Lytton Avenue, Suite 200
Attn Greg Williams
Palo Alto, CA 94301




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DAG Ventures III-A, LLC
c o DAG Ventures
251 Lytton Avenue, Suite 200
Attn Greg Williams
Palo Alto, CA 94301



DAG Ventures III-O, LLC
c o DAG Ventures
251 Lytton Avenue, Suite 200
Attn Greg Williams
Palo Alto, CA 94301



DAG Ventures III-Q, LLC
c o DAG Ventures
251 Lytton Avenue, Suite 200
Attn Greg Williams
Palo Alto, CA 94301



DAG Ventures III-QP, L.P.
c o DAG Ventures
251 Lytton Avenue, Suite 200
Attn Greg Williams
Palo Alto, CA 94301



Dagley, Ronald
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Katy, TX 77450



Daniel C. Rizzo Jr. & Jeanine M. Rizzo J
1758 Waterford Court
Pittsburgh, PA 15241-3151



Daniel C. Rizzo Jr. & Jeanine M. Rizzo,
1785 Waterford CT
Pittsburgh, PA 15241



Daniel Grupp
1525 SE Ramona St
Portland, OR 97202



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Daniel M. Carney
257 N. Battin Street
Wichita, KS 67208



Daniel Pietro and Annette Pietro, JWROS
19 Hunter Lane
Canton, MA 02021-1731



Datalab*
1893 Concourse Drive
San Jose, CA 95131



DataSafe
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David E. Hall Living Trust
7786 Orion Street
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David P. Bacon & Lucia Warner Bacon, JTW
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David R. Johnson
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Pittsburgh, PA 15219




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David S. Safran & Susan Safran, JTWROS
2583 Plum Tree Court
Vienna, VA 22181



David Wang
41831 Via San Miguel
Fremont, CA 94539



Daystar, Inc.
3240 Majestic Ridge
Las Cruces, NM 88011



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DBA Travel & Tours
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Abu Dhabi, UAE



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Decelles, Janie
1631 Glasgow Avenue
Cardiff, CA 92007-1621




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Deidra Vrooman
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DEK USA, Inc.
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Rolling Meadows, IL 60008



Dell Marketing L.P C/O Dell USA L.P
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                                        172
Deran Garabedian
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London, UK NW6 7E



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Dewey Pest Control
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Diane A. Hall Living Trust
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Arvada, CO 80007-7878



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Systems and Reliability Fraunhofer-Insti
Freiburg, Germany 79110-0000




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DNP America, LLC
3235 Kifer Road Suite 100
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DNV GL PVEL, LLC
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Do, Henry
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                                        172
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                                        172
Dr. Joseph P. Galichia & Stella A. Galic
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                                        172
Duratherm
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                                        172
Earth System Pacific
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                                        172
Edwards Vacuum, LLC
Remitt To: Dept. CH 19935
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EFI Specialty Metal, LLC
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                                        172
Elizabeth Gile Ratcliff & Rob Gile, JTWR
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                                        172
Energy Acuity LLC
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                                        172
Eric O. Tyler   Fran T. Tyler, JWROS
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                                        172
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Essex Capital Corporation
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                                        172
Ewald Associates, Inc.
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                                        172
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Fatemi, Homi
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Fatemi, Ryan
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                                        172
FedEx Freight *
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                                        172
Fiore,, Richard
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Tanauan City Batangas, Philippines 04232



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c o Dr. Michael Tyler
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Fisher Scientific Company, LLC
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Fitgerald Family LLC
9712 Charles Street
Omaha, NE 68114-2124




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Fitzgerald Family LLC
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U.S. Virgin Islands




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                                        172
FORELL/ELSESSER ENGINEERS, INC
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                                        172
Fredrick J. Shimek & Lynn Shimek, JTWROS
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                                        172
GA Wirth
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General Plasma Inc.
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Genesem Inc.
5-30, Juan-dong,
Nam-ku Incheon, South Korea 402-835




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                                        172
Genisys Corporation
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                                        172
Gerald C. McCaslin Trust DTD 02/25/1992
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Gerald T. Aaron Living Trust
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                                        172
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                                        172
GP Solar
GP Solar GmbH Hainbuchenring 9-11 82061
Neurie, Germany



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                                        172
Group Manufacturing Services
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                                        172
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                                        172
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Hannon, Mark
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Harry E. Tyler Trust
c o Michael L. Tyler, Trustee
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                                        172
Hastest Solutions, Inc
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119 Selby Lane
Atherton, CA 94027



Hays, Linda
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Atherton, CA 94027



Hays, Neyssa
119 Selby Lane
Atherton, CA 94027



Hays, Sheena
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Hays-Hatch, Dianne
119 Selby Lane
Atherton, CA 94027




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Haz Mat DQE
9910 North by North E. Blvd #600
Fishers, IN 46037



Heateflex Corp
405 East Santa Clara Street
Arcadia, CA 91006



Heigl Adhesives
7667 Cahill Road Suite #100
Edina, MN 55439



HeinConcept
Hoppenriekels 85 26125
Oldenburg, Germany



Heller Industries
4 Vreeland Road
Florham Park, NJ 07932



Hellmann Worlwide Logistics
C/O Deutsche Bank Trust PO Box 13361
Newwark, NJ 71010



Hendor-PE
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Greer, SC 29650



Henkel Electronic Materials LLC
3067 Paysphere Circle
Chicago, IL 60674




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                                        172
Hentec Industry
No. 55 Qinfend Road Huashi Town
Jiangyin City, Jiangsu Province, PRC 000



Heraeus Materials Technology N.A. LLC
301 N. Roosevelt Avenue
Chandler, AZ 85226



Heritage Global Partners
12625 High Bluff Dr #211,
San Diego, CA 92130



Herrmann & Schmidt
Lierstra e 27
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Hi Q Solar Inc
2030 Duane Ave.
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Higdem, Garry
325 Paragon Way
Castle Rock, CO 80108



High Tech Printing
509 Los Coches St.
Milpitas, CA 95035



Highsmith, Charles
203 Jersey Street
Dewey Beach, DE 19971-3410




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HIGHVAC Corporation
Vacuum and Abatement Solutions 4710 Nort
Colorado Springs, CO 80907



Hilditch Enterprises, Inc.
2834 Hammer Ave. Unit#216
Norco, CA 92860



Hill Family Revocable Living Trust
7606 Pontiac Trail
Northville, MI 48168-9472



Hill, Charles
8700 Big View Dr
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Hionix Inc.
1980 Concourse Dr.
San Jose, CA 95131



HISCO Inc.
P.O. Box 890811
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Hobbs & Towne
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Valley Forge, PA 19482



Hobbs, Allen
2340 Vernon Drive
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                                        172
Hose & Fittings, etc.
1811 Enterprise Blvd.
W. Sacramento, CA 95691



HPC Architecture
2216 The Alameda
Santa Clara, CA 95050



HPM Systems Inc.
70 Saratoga Ave., Suite 200
Santa Clara, CA 95051



Hubbard, Joseph
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Macon, GA 31210



I2DS Inc.
39899 Balentine Drive Suite 200
Newark, CA 94560



IAR Systems
1065 E. Hillsdale Blvd. Suite 420
Foster City, CA 94404



ICB GmbH & Co. KG
KG Ludwig-Erhard-Ring 21 15827
Blankenfelde-Mahlow, Germany



IFI Institut fur Industrieaerodynamik Gm
Institute at Aachen University of Applie
Strabe 120 52074
Aachen, Germany




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IFM Efector, Inc.
782 Springdale Drive
Exton, PA 19341



Illiano, Vincent
225 E. 24th Street, Apt 15C
New York, NY 10016



IMEC
Kapeldreef 75 B-3001
Leuven, Belgium



IMI Energy Solutions
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Imperial Capital
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Imtec Acculine, Inc.
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Fremont, CA 94538



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Independent Electrical Testing
6363 Collier Canyon, Rd.
Livermore, CA 94550




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                                        172
Indium Corporation
P.O. Box 269
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Inland Water, Inc
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Dublin, CA 94568



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InnoLas Solutions Gmbh
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Krailling, Germany



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Innovative Semiconductor
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Insulectro
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                                        172
Integ Roof Co.
6331 Cherry Ave
Long Beach, Ca 90805



Integral Systems Engineering, Inc.
1244 Commerce Avenue
Woodland, CA 95776



Integrated Engineering Services
70 Saratoga Ave., #200
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Interior Nature's Design
25108 Marguerite Pkway #336
Mission Viejo, CA 92692



International Polymer Solutions, Inc.
5 Studebaker
Irvine, CA 92618



Interstate All Battery Center
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Redwood City, CA 94063



Intertek Testing Service NA, Inc.
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Plano, TX 75074



Intertrust
87 Mary Street
George Town Grand Cayman, Cayman Islands




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                                        172
Intralinks, Inc.
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Intuit Quickbooks
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IPI Plastics, Inc.
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iStar Financial Inc.
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IVAC, Inc.
3560 Bassett St.
Santa Clara, CA 95054



J&J Paper & Packaging Inc.
3363 Arden Road
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J.A Woollman C. Inc.
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                                        172
James C. Leslie
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James P. Ginzkey
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James R. Grier III & Carolyn E. Grier, J
202 S. Lynwood Street
Wichita, KS 67218




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                                        172
James R. Riggins Trust Dtd 04/24/2012
213 Mariners Point Rd
Sequim, WA 98382



James R. Riggins Trust Dtd 04/24/2012
c/o James R. Riggins
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Jeff Belfiglio
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                                        172
Jeffrey Boigenzahn
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                                        172
JLS Holdings LLC
c o Jim Sorenson
299 South Main Street, Suite 2200
Salt Lake City, CA 84111



JLT Specialty Insurance Service
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Latham, NY 12110



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                                        172
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John Stelluti
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John Wiggins & Dorothy Wiggins, JTWROS
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                                        172
Johnson, David
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Kaiserin - Augusta - Allee
Berlin, Germany



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                                        172
Joseph C. Poggio  Irene Poggio, JtWROS
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Joseph Nestola
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Joshi, Swapnali
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Joshua Braen
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Fort Worth, TX 76102




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                                        172
JRT Photovoltaics GmbH & Co. KG
Riegeler Stra e 4, 79364
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JSI Shipping
1535-B Rollins Road
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Juanxin Technology Co., Ltd.
BLDG 5, FL 5, Jia Yi Yuan Science Park H
Shenzhen, PRC



K-Tech Manufacturing & Machining
3260 Keller St#5
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Kaiser Foundation Health Plan
File 5915
Los Angeles, CA 90074



Kamran Manteghi
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KarMic US LLC
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Karver, Jeffrey
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Boyertown, PA 19512-1154




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                                        172
Kathryn Churchill
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Kaylaco Enterprises, LLC
4760 Howe Lane
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Kearney Boyle & Associates, Inc.
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Kendall,, Donald
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Houston, TX 77024




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                                        172
Kent F. Ure   Jolyn B. Ure
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Kevin J. Haslam    Sharon K. Haslam, JTWR
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Keyence Corporation
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Khicha, Sanjay
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Kikusui America, Inc.
2975 Bowers Avenue Suite 307
Santa Clara, CA 95051




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                                        172
Kimball, Tirey & St. John LLP
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Kinetic Systems, Inc.
48400 Fremont Blvd.
Fremont, CA 94538



Kipperman, Robert
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KLA-Tencor Corp
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Los Angeles, CA 90074



KMG - Cyantek Corp
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Chicago, IL 60673



Kodiak Roofing Waterproofing, Co
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Komin, Patricia
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Atherton, CA 94027




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                                        172
Komin, Sr., Robert
119 Selby Lane
Atherton, CA 94027



Koncsics, Thomas Mathias
1835 Arch Street, Apt. 1601
Philadelphia, PA 19103



Konica Minolta Sensing Americas, Inc.
Dept. CH 19334
Palatine, IL 60055



KPCB Holdings Inc., as nominee
2750 Sand Hill Road
Menlo Park, CA 94025



KPCB Holdings, Inc., as nominee
Attn John Denniston
Wen Hsieh
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Krayden Asia Bank
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Krentz, Kurtis
140 Cassia Court
Medina, MN 55340




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                                        172
Kuhne + Nagel Inc.
10 Exchange Place Floor 19
Jersey City, NJ 07302



Kulim Golf & Country SDN. BHD
Jalan Mahang, Kulim Hi-tech Park, 09000
Kedah, Malaysia



Kurdex Corp
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Kurtis S. Krentz
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L&M Precision Sheetmetal, Inc
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LAB - PRO, Inc.
1290 Anvilwood Court
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Lapeze, Joelle
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Lapone, Patrick
79 SW 12th Street, 2609
Miami, FL 33130




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                                        172
Laser Mark's Company
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Laube Jr., Donald
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Lauffer GmbH & Co. KG
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                                        172
Lenscrafters
14963 Collections Center Dr.
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Levitronix Technologies LLC
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Lewis Bass International Inc.
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Liberty Test Equipment
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Life Safety Associates
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Lifesprings Group, LLC
c o Steven Kurt Menner
710 Ginger Lane
Franklin Lakes, NJ 07417




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                                        172
Linde Electronics & Speciality Gases
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Linden Growth Partners
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Ling Zhu*
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Linoleum City, Inc.
c o Fred Stifter
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                                        172
LP Glassblowing Inc.
2322 Calle Del Mundo
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LPD Investments Ltd.
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c o James H. Boettcher
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Mackoul, Robert
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                                        172
Madico Inc.
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Mamour Electronics Co., Ltd
Rm.1609 Qiantang Aviation Mansion Buildi
Hangzhou, Zhejiang, PRC 00031-0000



Maness Family Trust
28316 Contessa Avenue
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                                        172
Maniar, Parimal B.
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                                        172
Mark W. Lang & Harriet Goldman-Lang, JTW
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Mason D. Corn & Helene H. Corn, JTWROS
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Master CAD Designs
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                                        172
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MBT Systems Ltd
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                                        172
Mc Calmont Engineering
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Metalcraft, Inc.
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MH Zoller Profit Sharing Plan
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Millennium Trust Co., LLC Custodian FBO
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Millennium Trust Company, LLC Cust FBO A
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Millennium Trust Company, LLC Cust FBO D
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Millennium Trust Company, LLC Cust FBO J
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                                        172
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                                        172
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                                        172
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                                        172
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                                        172
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NCD Investors
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                                        172
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Newport Corporation
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                                        172
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                                        172
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                                        172
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                                        172
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                                        172
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                                        172
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                                        172
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                                        172
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                                        172
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                                        172
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                                        172
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                                        172
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                                        172
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Rigel, Ernest
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                                        172
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                                        172
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Ronald S. Bewersdorff Revocable Trust
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                                        172
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Sands, Alton Donald
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SAS Institute Inc.
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Schmid Thermal Systems, Inc
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                                        172
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Sekhon, Gurdip Singh
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                                        172
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                                        172
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                                        172
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                                        172
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                                        172
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                                        172
Solexel, Inc.
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                                        172
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                                        172
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                                        172
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                                        172
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                                        172
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                                        172
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                                        172
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                                        172
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                                        172
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                                        172
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                                        172
The McAlpine Family Revocable Trust
730 Benson Lane
Green Oaks, IL 60048



The Nag Childrens Trust
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The Nag Living Trust
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The Olander Company, Inc.
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The Phillip R. Neff Revocable Trust
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The Sangeeta G. Khicha Revocable Trust
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                                        172
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                                        172
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                                        172
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                                        172
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